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                              UNITED STATES DISTRICT COURT

                              MIDDLE DISTRICT OF LOUISIANA


ANDREW BABINSKI                                         NO.: 3:20-cv-426-SDD-EWD

VERSUS

TODD QUEEN, ET AL.


                  MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
                       COMPLAINT PURSUANT TO RULE 12

        Kristin Sosnowsky, in her personal and official capacities, and Shannon Walsh, John

Fletcher and Alan Sikes, in their personal capacities (collectively “Defendants”), are entitled

dismissal of all claims in the Complaint (Doc. 1) pursuant to Fed. R. Civ. P. 12(b)(1) and (6), with

prejudice, at Plaintiff’s cost, including reasonable attorney fees. Specifically, 1) the Eleventh

Amendment of the U.S. Constitution grants sovereign immunity to state employees for acts within

their official capacities; 2) Plaintiff failed to state a claim upon which relief can be granted against

any of the Defendants in their personal capacities because all alleged acts were taken in the course

and scope of the Defendants’ public employment; 3) Plaintiff failed to state a claim upon which

relief can be granted because course assignments are not protected speech;) 4) Plaintiff failed to

state a claim upon which relief can be granted because students have no protected property interest

in maintaining enrollment in a particular academic program; 4) Plaintiff is not a “class of one”

entitled to equal protection; and 5) the conclusory allegation of conspiracy is not supported by

facts sufficient to state a claim.

        Alternatively, and only in the event this Honorable Court determines Plaintiff’s claims are

not barred by the Eleventh Amendment, and any claim has been stated upon which this Honorable

Court can grant relief, Plaintiff’s claims are barred by qualified immunity.




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I.      FACTUAL BACKGROUND

        At all times material to the allegations in the Complaint, the Defendants were employed by

Louisiana State University Agricultural and Mechanical College (“LSU”) as faculty members in

the Department of Theatre (“Theatre Department”). 1 Kristin Sosnowsky was also the Chair of the

School of Theatre and the Executive Associate Dean of the College of Music and Dramatic Arts. 2

are faculty members in the Theatre Department. 3 Plaintiff was a Ph.D. student in the Theatre

Department (“Theatre Ph.D. Program”), 4 a graduate assistant and a teaching assistant. 5 In the

spring of 2019, Plaintiff was a student in THTR 7923, a required course in the Theatre Ph.D.

Program, taught by Walsh. 6 As a result of the failing grade Plaintiff received on his final

assignment in THTR 7923 and in THTR 7923, he was placed on academic probation and became

ineligible to be a graduate assistant and a teaching assistant. 7

        Plaintiff describes his THTR 7923 paper as “performative writing” used to express feelings

of discrimination and mistreatment and admits the paper included “strong language, expletives, and

harsh criticisms of various faculty members and [his] peers.” 8 Plaintiff alleges he requested Walsh

to share the paper with Fletc7500her and Sikes. 9 Walsh forwarded the paper to her supervisor,

Sosnowsky, who sent the paper to the LSU Police Department and the LSU Office of Student

Advocacy and Accountability for review. 10




1
  Todd Queen, former Dean of the College of Music and Dramatic Arts, was dismissed with prejudice (Doc. 14).
2
   Doc. 1, para. 3
3
   Doc. 1, paras. 4, 5 and 6
4
   Doc. 1, para. 1
5
   Doc. 1, para. 12
6
   Doc. 1, para. 16
7
   Doc. 1, para. 26
8
   Doc. 1, paras. 20 and 23
9
   Doc. 1, para. 23
10
   Doc. 1, para. 24




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         Plaintiff alleges as a result of the content of his THTR 7923 paper Walsh, Fletcher, and

Sikes, who comprise three-fourths of the Theatre Ph.D. Program’s faculty, refused to teach him

and administer his general examinations. 11 Plaintiff alleges he was advised there was no way for

him to continue in the Theatre Ph.D. Program; 12 however, Plaintiff admits he continued in the

Theatre Ph.D. Program in the 2019 Fall Semester completing a course in the Theatre Ph.D.

Program and three courses required for his minor concentration. 13

         On June 5, 2020, Plaintiff filed this suit pursuant to 42 U.S.C. §1983 alleging violations of

 rights protected by the First and Fourteenth Amendments to the United States Constitution 14

 seeking monetary damages, a permanent injunction against Sosnowsky, in her official capacity,

 ordering his reinstatement to the Theatre Ph.D. Program 15 and a permanent injunction enjoining

 the Defendants from disseminating information related to his “performative paper” and from

 disparaging Plaintiff to others. 16

II.      LAW AND ARGUMENT

          A.      Federal Courts Lack Jurisdiction Over Claims Arising Out of Acts of Public
                  University Professors within the Course and Scope of Employment.

         “Federal courts are courts of limited jurisdiction” possessing “only that power authorized

by the Constitution and statute.” 17 “A case is properly dismissed pursuant to Rule 12(b)(1) for lack

of subject matter jurisdiction when the court lacks the statutory or constitutional power to adjudicate

the case.” 18 “When a motion to dismiss for lack of jurisdiction ‘is filed in conjunction with other


11
   Doc. 1, para. 29
12
   Doc. 1, para. 30
13
   Doc. 1, para. 31
14
   Doc. 1, paras. 33-57
15
   Doc. 1, paras. 60, 61 and 64
16
   Doc. 1, para 61
17
   Kokkonen v. Guardian Life Ins. Co. of America, 511 U.S. 375, 377; 114 S.Ct. 1673; 128 L.Ed.2d 391 (1994) (internal
citations omitted)
18
   Home Builders Ass’n of Mississippi, Inc. v. City of Madison, Miss., 143 F. 3d 1006, 1010 (5th Cir. 1998) (internal
citations omitted)




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Rule 12 motions, the court should consider the Rule 12(b)(1) jurisdictional attack before addressing

any attack on the merits.’” 19 “The Eleventh Amendment to the United States Constitution bars suits

in federal court by citizens of a state against their own state or a state agency or department.” 20

Suits against state employees in their official capacities are actually suits against the state and are

therefore, barred by sovereign immunity granted by the Eleventh Amendment. 21

        State employees are not ‘persons’ subject to liability and cannot be sued under 42 U.S.C.

§1983 for acts in their official capacities. 22 “Several federal courts have unwaveringly determined

that Louisiana's public universities, including LSU, are to be treated as arms of the State of

Louisiana.” 23 In 2019, the Fifth Circuit Court of Appeals held, “[p]ublic university professors are

public employees” 24 while acting in their official capacities and therefore, are not “persons”

subject to liability under 42 U.S.C. §1983.

        Although Plaintiff named the Defendants in their personal capacities, every allegation in

the Complaint concerns actions taken in their official capacities. Plaintiff specifically alleges

Sosnowsky was an LSU employee acting in that capacity at all times relevant to the allegations of

the Complaint. 25 The Complaint does not include a single allegation regarding any Defendant

resulting from an action taken in a personal capacity. Since all allegations against the Defendants

relate to actions taken in the course and scope of their employment as a public university

professors, the Defendants are not persons who can be liable pursuant to 42 U.S.C. §1983. 26


19
   Crenshaw-Logal v. City of Abilene, Tex., 436 Fed. Appx. 306, 308 (5th Cir. 2011), quoting Ramming v. United
States, 281 F. 3d 158, 161 (5th Cir. 2001) and In re Great Lakes Dredge & Dock Co. LLC, 624 F.3d 201, 209 (5th
Cir. 2010)
20
    Voisin's Oyster House, Inc. v. Guidry, 799 F.2d 183, 185 (5th Cir. 1986)
21
   New Orleans Towing Ass’n, Inc. v. Foster, 248 F.3d 1143 (5th Cir. 2001)
22
   Jarvis v. Louisiana State University Health Sciences Center, CIV.A. 06-4384, 2007 Unpub. WL 2993862, at p.3
(E.D. La. Oct. 10, 2007); Perez v. Region 20 Education. Service Center., 307 F.3d 318, 326 (5th Cir.2002)
23
   Jarvis, 2007 Unpub. WL 2993862, at p.3
24
   Buchanan v. Alexander, 919 F. 3d 847, 853 (5th Cir. 2019) writ denied, 140 S.Ct. 432; 205 L.Ed.2d 264 (2019)
25
   Doc. 1, para. 3
26
   Doc. 1, paras. 40, 54 and 57




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Plaintiff’s requested relief in the form of “economic damages, tuition and fees, loss of earning

capacity, mental anguish and emotional damages, damage to reputation, attorney’s fees and other

measures and elements of damages that may be proven at trial” 27 and prayer for “judgment in his

favor and against [Defendants]… in such amounts as are reasonable…” 28arising out of actions

taken by the Defendants in their official capacities are barred by sovereign immunity, requiring

their dismissal with prejudice at Plaintiff’s cost.

        B.       Plaintiff failed to State a Cause of Action for Which Relief Can be Granted.

        Federal Rule of Civil Procedure 12(b)(6) authorizes dismissal of complaints which fail to

state a claim upon which relief can be granted. “Dismissal under Rule 12(b)(6) is appropriate when

the plaintiff has failed to allege ‘enough facts to state a claim to relief that is plausible on its face’

and fails to ‘raise a right to relief above the speculative level.’” 29 To survive a Rule 12(b)(6) motion

to dismiss, a claim must include more than “labels and conclusions, [or] a formulaic recitation of

the elements of a cause of action.” 30 Courts “are not bound to accept as true a legal conclusion

couched as a factual allegation.” 31 A claim must include more than conclusory statements or

unsupported legal conclusions. 32 There must be sufficient factual information present that, when

accepted as true, a plausible claim for relief is presented. 33

                 1. Course Assignments are not Speech Protected by the First Amendment.

        While Plaintiff asserts his views expressed in class and in his performative paper constitute

protected speech, 34 this assertion is not supported by jurisprudence. In Bethel School Dist. No. 403



27
   Doc. 1, para. 58
28
   Doc. 1, p. 19, prayer
29
   Nationwide Bi-Weekly Admin., Inc. v. Belo Corp., 512 F.3d 137, 140 (5th Cir. 2007)
30
   Bell Atlantic Corp v. Twombly, 550 U.S. 544, 545, 127 S. Ct. 1955, 1959; 167 L. Ed. 2d 929 (2007)
31
   Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 1950; 173 L. Ed. 2d 868 (2009)
32
   Id.
33
   Bell Atlantic Corp v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955, 1959; 167 L. Ed. 2d 929 (2007)
34
   Doc. 1, paras. 34 and 35




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v. Fraser, the U.S. Supreme Court upheld the suspension of a student based on the content of a

speech delivered during a school assembly. The Supreme Court held the school was within its

permissible authority in imposing sanctions in response to the student's speech” where the speech

was within a school setting. 35 In Hazelwood School Dist. v. Kuhlmeier, students alleged their First

Amendment rights were violated by the school’s refusal to publish certain articles in a newspaper

written and edited by students in a journalism class as a part of the school’s curriculum. 36 The U.S.

Supreme Court held the determination of whether a manner of speech in the classroom or in school

assembly is inappropriate properly rests with the school board rather than with the federal courts. 37

Analyzing whether the students’ course assignment was protected by the First Amendment, the

Court held:

                 [S]chools do not possess all of the attributes of streets, parks, and
                 other traditional public forums that … have been used for purposes
                 of assembly, communicating thoughts between citizens, and
                 discussing public questions. … If the facilities have … been
                 reserved for other intended purposes, communicative or otherwise,
                 then no public forum has been created, and school officials may
                 impose reasonable restrictions on the speech of students.38
                 (Emphasis added.)

The school’s policies governing the newspaper reflected, “[s]chool sponsored publications are

developed within the adopted curriculum and its educational implications in regular classroom

activities.” 39 Further, the journalism course was taught by a faculty member during regular class

hours and students received grades and academic credit for their performance in the course. 40

Finally, the Supreme Court noted that the speech at issue was, “part of the educational curriculum



35
   Bethel School Dist. No. 403 v. Fraser, 478 U.S. 675, 685; 106 S.Ct. 3159, 3160; 92 L.Ed.2d 549 (1986)
36
   Hazelwood School Dist. v. Kuhlmeier, 484 U.S. 260; 108 S.Ct. 562, 564; 98 L.Ed.2d 592 (1988)
37
   Id. at 567 citing Bethel School Dist. No. 403 v. Fraser, 478 U.S. 675, 683; 106 S.Ct. 3159, 3160; 92 L.Ed.2d 549
(1986)
38
   Hazelwood, 108 S.Ct. at 568,484 U.S. at 267 (internal citations and quotations omitted)
39
   Hazelwood, 108 S.Ct. at 568, 484 U.S. at 268
40
   Id.




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and a ‘regular classroom activit[y].’” 41 The Court finding no clear intent to create a public forum

held, educators are entitled to exercise great control over student expression tied to school

curriculum to assure, in part, students learn whatever lessons the activity is designed to teach.42

Further, a school may sanction speech that is ungrammatical, poorly written, inadequately

researched, vulgar or profane. 43 The Supreme Court concluded:

                  [E]ducators do not offend the First Amendment by exercising
                  editorial control over the style and content of student speech in
                  school-sponsored expressive activities so long as their actions are
                  reasonably related to legitimate pedagogical concerns…This
                  standard is consistent with our oft-expressed view that … education
                  … is primarily the responsibility of … teachers … and not of federal
                  judges. 44

        Consistent with its prior holding, in Morse v. Frederick, the U.S. Supreme Court, citing

Fraser, stated:

                  [T]he constitutional rights of students in public school are not
                  automatically coextensive with the rights of adults in other settings.
                  Had Fraser delivered the same speech in a public forum outside the
                  school context, he would have been protected. In school, however,
                  his First Amendment rights were circumscribed in light of the
                  special characteristics of the school environment. 45 (Emphasis
                  added.)

In Collins v. Putt, the district court’s dismissal for failure to state a claim upon which relief could

be granted pursuant to Rule 12(b)(6) was affirmed, in a college student’s suit alleging a professor

violated the First Amendment by removing a blog post he wrote for a class assignment. The Second

Circuit Court of Appeals affirmed the dismissal. 46 Collins described his blog as “intentionally

humorous, ironic and provocative” and as “a critique of the assignment and materials themselves.”


41
   Hazelwood School Dist. v. Kuhlmeier, 484 U.S. 260, 268; 108 S.Ct. 562, 564; 98 L.Ed.2d 592 (1988)
42
   Hazelwood, 108 S.Ct. at 570, 484 U.S. at 271
43
   Id. (internal citations and quotations omitted)
44
   Hazelwood,, 108 S.Ct. at 571, 484 U.S. at 273
45
   Morse v. Frederick, 551 U.S. 393, 394–95; 127 S.Ct. 2618, 2620–21; 168 L.Ed.2d 290 (2007) (internal citations
and quotations omitted)
46
   Collins, 979 F.3d at 131




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Collins’ professor notified him “that while she did not ‘mind a bit of humor here and there, ranting

about the classroom materials in a manner that some might find offensive will not be tolerated”

and removed the blog post and all comments made to the post. 47

         The Second Circuit applying the Hazelwood standard held the speech made “specifically

in response to a class assignment, under the supervision of a college faculty member” was not

protected speech. The Court, which found the post critiquing the assignment and materials was not

the assignment, stated:

                 Unquestionably, whether a student's work is responsive to an
                 assignment ... [is] part and parcel of a school's responsibility to
                 ensure that participants learn whatever lessons the activity is
                 designed to teach...Collins's conclusory assertion that it was not off-
                 topic for him to voice his own perceptions and viewpoints, cannot
                 by itself state a plausible claim…mere conclusory statements cannot
                 plead plausible claim… 48 (Emphasis added.)

The Court noted that Collins, rather than responding to the assignment, “ranted about the

inadequacy of the materials as a vehicle for teaching communications, thereby addressing a subject

entirely outside the scope of the assignment and distracting from the lesson's pedagogical

purpose.” 49 Thus, “in [the] context of…completing course assignments, [the plaintiff] was not

subjected to viewpoint discrimination when his post criticizing rather than performing the

assignment was deleted.” 50 The deletion of the blog resulted solely from the off topic subject

matter. 51




47
   Collins v. Putt, 979 F.3d 128, 131 (2d Cir.2020), pet. for cert. docketed, No. 20-920 (U.S. Jan 8, 2021) (internal
citations and quotations omitted)
48
   Collins, 979 F.3d at 134
49
   Collins, 979 F.3d at 136
50
   Id. See also Buchanan v. Alexander, 919 F. 3d 847, 852 (5th Cir. 2019) writ denied, 140 S.Ct. 432; 205 L.Ed.2d
264 (2019) students, teachers, and professors are not permitted to say anything and everything simply because the
words are uttered in the classroom context).
51
   Id.




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         Plaintiff’s speech made specifically in response to a class assignment in THTR 7923 is not

protected speech. Plaintiff’s paper in which he concedes he submitted the paper “to reach Professor

Walsh” by using “performative writing to express feelings of discrimination and mistreatment”52

including “strong language, expletives, and harsh criticisms of various faculty members and

peers” 53 failed to comply with the assignment. Plaintiff’s paper, like Collins’ blog, was not

responsive to or in compliance with the assignment, but rather, a “rant.” Plaintiff’s conclusory

assertion that his “expressed views… in his performative paper constitute protected speech” fail

to state a claim for which relief can be granted. 54 Since Plaintiff’s paper is not protected by the

First Amendment, the Complaint fails to state a cause of action upon which relief may be granted.

                  2. Students Have No Protected Property Interest in a Particular Academic
                     Program.

         Plaintiff alleges “[t]he right to maintain enrollment and continue through an academic

program toward graduation is a vested property right” which entitled him “to procedural due

process prior to being deprived of life, liberty, or property in accordance with the Due Process

Clause of the Fourteenth Amendment to the United States Constitution.55 Plaintiff further asserts

refusal to teach him or administer general exams amounts to a de facto expulsion, without

sufficient notice or an opportunity to be heard. 56 Additionally, Plaintiff asserts “the right to

maintain enrollment and continue through an academic program toward graduation is a substantive

right for purposes of the Due Process Clause of the Fourteenth Amendment;” 57 however, Plaintiff’s

conclusory allegations are contrary to jurisprudence.




52
   Doc.1, para. 20
53
   Doc. 1, para. 23
54
   Collins, 979 F.3d at 134 (internal citations and quotations omitted)
55
   Doc. 1, paras. 42 and 43
56
   Doc. 1, paras. 29 and 44
57
   Doc. 1, para. 15




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        To establish “either a substantive or a procedural due process violation by claiming denial

of a property right, [a plaintiff] must first establish a denial of a constitutionally protected property

right.” 58 “[P]roperty interests are created, and their dimensions defined ‘by existing rules or

understandings that stem from an independent source such as state law-rules or understandings

that secure certain benefits and that support claims of entitlement to those benefits’” 59 A showing

of a property right, “must be made by reference to state law.” 60

        In Smith v. Davis, the Fifth Circuit Court of Appeals recognized, “[t]he [Supreme] Court

has not held college academic decisions implicate property or liberty interests, entitling a student

to constitutional due-process protections.” 61 The Fifth Circuit has held a student who is not denied

access to public education does not have a property or liberty interest implicated. 62 In Nevares v.

San Marcos Consolidated Independent School District, the Fifth Circuit declared:

                 We have previously held that no protected property interest is
                 implicated in a school's denial to offer a student a particular
                 curriculum…We would not aid matters by relegating the dispute to
                 federal litigation. And because the United States Constitution has
                 not been offended in the present dispute, we retire from it. 63
                 (Emphasis added.)

Similarly, in Sonya D. Aryndar b/n/f Freya Arundar v. DeKalb County School District, 64 a student

denied enrollment in certain courses alleged a property right in continuing on to higher education

in a highly technical field. The Fifth Circuit held, although state law could create a protected

interest in a particular kind of education, absent such a basis in state law, there was no cause of



58
   Bryan v. City of Madison, Miss., 213 F.3d 267, 274 (5th Cir.2000).
59
   Smith v. Davis, 507 Fed.Appx. 359, 362, 2013 Unpub. WL 135552 at p. 3 (5th Cir.2013) (internal citations omitted)
60
   Bryan, 213 F.3d at 275
61
   Smith, 507 Fed. Appx. at 362, 2013 Unpub. WL 135552 at p. 3 (internal citations omitted)
62
   Id. citing Nevares v. San Marcos Consol. Indep. Sch. Dist., 111 F.3d 25, 26 (5th Cir.1997). See also Walsh v.
Louisiana High School Athletic Ass'n, 616 F.2d 152 (5th Cir.1980) (students do not have a protected interest in the
separate components of the educational process, such as participation in interscholastic athletics)
63
   Nevares, 111 F.3d 25 (5th Cir.1997)
64
   620 F.2d 493 (5th Cir.1980)




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action. 65 The Fifth Circuit affirmed the trial court’s “dismissal of the case because the Complaint

so clearly fails to state a cause of action.” 66 In Barnes v. Symeonides, 67 the Fifth Circuit again

addressed a student’s asserted right to continue his education and found, “no state-created right to

graduate-level education.”

        Plaintiff has no protected property interest in maintaining enrollment and continuing in a

particular academic program; therefore, the Complaint fails to state a cause of action for violation

of procedural or substantive due process.

                 3. Plaintiff is not a “Class of One” entitled to Equal Protection.

        Plaintiff alleges Defendants’ actions “against [him] differ considerably from their

treatment of other, similarly situated students without sufficient justification, making [him] a ‘class

of one’ who has suffered discrimination.” 68 “[T]he purpose of the equal protection clause of the

Fourteenth Amendment is to secure every person within the State's jurisdiction against intentional

and arbitrary discrimination, whether occasioned by express terms of a statute or by its improper

execution through duly constituted agents.” 69 A “class of one” equal protection claim requires

intentional different treatment “from others similarly situated” without “a rational basis for the

difference in treatment.” 70 “[W]hether a litigant is similarly situated to others is case-specific”

requiring consideration of “the full variety of factors that an objectively reasonable ... decision

maker would have found relevant in making the challenged decision.” 71




65
    Sonya D. Aryndar b/n/f Freya Arundar v. DeKalb County School District, 620 F.2d 493, 495 (5th Cir.1980)
(Emphasis added)
66
   Id.
67
   44 F.3d 1005 (5th Cir.1995) (Emphasis added)
68
   Doc. 1, paras. 52 and 53
69
   Village. of Willowbrook v. Olech, 528 U.S. 562, 564; 120 S.Ct. 1073, 1075; 145 L.Ed.2d 1060 (2000)
70
   Id. See also Lindquist v. City of Pasadena Texas, 669 F.3d 225, 233 (5th Cir.2012)
71
   Martinez v. New Deal Independent. School Dist., 802 Fed.Appx. 98, 100 (5th Cir.2020) (internal citations and
quotations omitted)




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        In Rountree v. Dyson, the Fifth Circuit upheld dismissal where the Complaint did not

sufficiently allege treated different from others similarly situated. 72 Specifically, the Court held:

                 [The] complaint generally alleges that other similarly situated
                 individuals were treated differently, but [the plaintiff] points to no
                 specific person or persons and provides no specifics as to their
                 violations. Though we take factual allegations as true at the Federal
                 Rule of Civil Procedure 12(b)(6) stage, “[t]hreadbare recitals of the
                 elements of a cause of action, supported by mere conclusory
                 statements, do not suffice.” An allegation that others are treated
                 differently, without more, is merely a legal conclusion that we are
                 not required to credit. Rountree’s equal protection claim fails. 73
                 (Emphasis added.)

As in Roundtree, Plaintiff’s allegation that Defendants’ actions against him “differ considerably

from their treatment of other, similarly situated students without sufficient justification…” is a

mere legal conclusion which fails to state a cause of action under the Fourteenth Amendment. The

Complaint’s conclusory statements do not suffice to state a claim for which relief can be granted

and therefore, should be dismissed with prejudice at Plaintiff’s cost.

                 4. Plaintiff’s Allegation of Conspiracy is Insufficient to State a Claim.

        Finally,     Plaintiff alleges       Defendants, “in         various     combinations and through

correspondence and other overt acts, conspired to violate [his] civil rights, including but not limited

to those rights described above.” 74 “Plaintiffs who assert conspiracy claims under civil rights

statutes must plead the operative facts upon which their claim is based. Bald allegations that a

conspiracy existed are insufficient.” 75 Further, “defendants cannot be liable for a conspiracy that

failed to violate the plaintiff’s rights.” 76



72
   Rountree v. Dyson, 892 F.3d 681, 685 (5th Cir.2018) (internal citations omitted)
73
   Id. See also Bryan v. City of Madison, Miss., 213 F.3d 267, 276 (5th Cir.2000) (complaint which failed to provide
specifics or examples of alleged different treatment failed to state a claim)
74
   Doc. 1, para. 56
75
   Lynch v. Cannatella, 810 F.2d 1363, 1370 (5th Cir.1987). See also Ashcroft v. Iqbal, 556 U.S. 662, 678; 129 S. Ct.
1937, 1949; 173 L. Ed. 2d 868 (2009); and Fernandez-Montes v. Allied Pilots Ass'n, 987 F.2d 278, 284 (5th Cir. 1993)
76
   Jackson v. City of Hearne, Texas, 959 F.3d 194, 206 (5th Cir.2020)




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        As demonstrated by the foregoing arguments, the conclusory allegations of denial of

Plaintiff’s rights are not supported by jurisprudence. Plaintiff has failed to state a claim for denial

of any constitutionally protected right. Further, Plaintiff’s conclusion that Defendants conspired to

violate his rights is not supported by sufficient factual allegations. For the reasons set forth

hereinabove, the Complaint is insufficient to set for any claim for denial of any right protected the

First or Fourteenth Amendment to the U.S. Constitution. Accordingly, the Complaint should be

dismissed with prejudice at Plaintiff’s cost.

        C.       Alternatively, Plaintiff’s Claims are Barred by Qualified Immunity.

        Plaintiff’s factual allegations consist solely of alleged actions of faculty members within

the course and scope of their state employment. Alternatively and only in the event this Honorable

Court determines Plaintiff’s claims are not barred by the Eleventh Amendment and Plaintiff stated

any claim for relief the Defendants are entitled to qualified immunity.

        Qualified immunity protects public employees from individual capacity suits under 42

U.S.C. §1983 for performance of discretionary duties when their actions are reasonable. 77 Courts

perform a two part inquiry to determine whether qualified immunity applies: (1) whether a

constitutional right was violated, and (2) whether that right was clearly established at the time of

the alleged violation. 78 Courts have discretion to skip the first inquiry and resolve a case solely on

clearly established grounds. 79 Conduct violates a clearly established right, “when at the time of the

challenged conduct, the contours of [the] right [are] sufficiently clear that every reasonable official

would [have understood] that what he is doing violates that right.” 80 A plaintiff, “must be able to



77
   Good v. Curtis, 601 F.3d 393, 400 (5th Cir. 2010)
78
   Sims v. City of Madisonville, 894 F.3d 632, 638 (5th Cir. 2018), citing Pearson v. Callahan, 555 U.S. 223, 240
(2009). See also Buchanan v. Alexander, 919 F. 3d 847 (5th Cir. 2019) writ denied, 140 S.Ct. 432; 205 L.Ed.2d 264
(2019)
79
   Sims, 894 F.3d at 638 (internal quotations omitted)
80
   Ashcroft v. Al-Kidd, 563 U.S. 731, 741; 131 S.Ct. 2074, 2083; 179 L.Ed.2d 1149 (2011)




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point to controlling authority—or a robust consensus of persuasive authority—that defines the

contours of the right in question with a high degree of particularity.” 81 “Where no controlling

authority specifically prohibits a defendant's conduct ... the law cannot be said to be clearly

established. ... generalizations and abstract propositions are not capable of clearly establishing the

law…‘existing precedent must have placed the statutory or constitutional question beyond

debate.’” 82 Further, mistakes in judgment, whether the mistake is one of fact, law, or based on

mixed questions of fact and law, are protected by qualified immunity. 83

        Actions arising out of discretionary acts of the Defendants within the scope of their public

employment are barred by qualified immunity. Accordingly, the Complaint should be dismissed

with prejudice at Plaintiff’s cost.

III.    CONCLUSION

        Plaintiff’s claims against Sosnowsky, in her official capacities as the Chair of the LSU

School of Theatre, and the Executive Associate Dean of the College of Music and Dramatic Arts,

are barred by Eleventh Amendment sovereign immunity and should be dismissed, with prejudice,

at Plaintiff’s cost. Plaintiff failed to plead operative facts sufficient to state a claim for which relief

can be granted against Defendants in their individual capacities because: a) course assignments are

not protected speech; b) students have no property interest in maintaining enrollment in a particular

academic program; c) Plaintiff is not a “class of one”; and d) the alleged conspiracy is not

supported by facts.




81
   Smith v. Davis, 507 Fed.Appx. 359, 362, 2013 Unpub. WL 135552 at p. 3 (5th Cir.2013)
82
   Smith, 507 Fed.Appx. at 361, 2013 Unpub. WL 135552 at p. 3
83
   Butz v. Economou, 438 U.S. 478, 507; 98 S.Ct. 2894, 2911; 57 L.Ed.2d 895 (1978). See also Pearson v. Callahan,
555 U.S. 223, 231; 129 S.Ct. 808, 815; 172 L.Ed.2d 565 (2009) (internal citations omitted)




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       Alternatively, and only in the event this Honorable Court determines Plaintiff’s claims are

not barred by the Eleventh Amendment, and a claim for relief has been plead against the

Defendants, Plaintiff’s claims against each Defendant are barred by qualified immunity.



                                                  By Attorneys:
     CERTIFICATE OF SERVICE

     I hereby certify that on January 25,          /s/ Sheri M. Morris
2021, a copy of the forgoing Memorandum           Sheri M. Morris, LA Bar No. 20937
in Support of Motion to Dismiss Complaint         Christina B. Peck, LA Bar No. 14302
Pursuant to Rule 12 was filed electronically      Katelin Varnado, LA Bar No. 35498
with the Clerk of Court using the CM/ECF          Special Assistants Attorney General
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